                                             Case 4:22-cv-00638-KGB Document 1-1 Filed 07/12/22 Page 1 of 1

JS 44 (Rev. 06/17)
                                                                                                         CIVIL COVER SHEET                                                         tj;t:2ddt/6..3?- ;f:'6/J
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE IN,\TRVCTIONS ON NF.XT PAGE OF THIS FORM)

I. (a) PLAINTIFFS
                                                                                                                                                      s~R",m~t-~t~STEEP HILL ARKANSAS,
 DON PLUMLEE JAKIE HANAN AND PETE EDWARDS                                                                                                             BRENT WHITTINGTON, BRANDON THORNTON, BOLD TEAM LLC
                                                                                                                                                      NSMC-OPCO, LLC D/B/A NATURAL STATE MEDICINAL
     (b)      County of Residence of First Listed Plaintiff                                    '-A-'-'R-"-KA~N~S=-A'-'Sc.-_____                        County of Residence of First Listed Defendant _u-"-'-'n'--'ko""w-'-'-'-n'---------
                                             (EXCEPT IN ll.S..PLAINTIFF CASES)                                                                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                         NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                       THE TRACT OF LAND INVOLVED.


     ( C) Attome_ys (Firm Name,                  Address, and Telephone Number)                                                                           Attorneys (If Known)
 SUTTER &·GILLHAM, P.L.L.C.
 310 W. CONWAY STREET, PO BOX 2012
 BENTON, AR 72015 501/315-1910 (0)

II. BASIS OF JURISDICTION (flacean "X" in One Box Only)                                                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                                                (For Diversity Cases Only)                                                              and One Rox for Defendant)
0 I       U.S. Government                             ~ 3          Federal Question                                                                                      PTF                           DEF                                             PTF      DEF
             Plaintiff                                               (US. Government Not a Party)                                          Citizen of This State         IX I                          O           Incorporated or Principal Place       O 4     0 4
                                                                                                                                                                                                                     of Business In This State

0 2       U.S. Government                             0 4          Di~ity                                                                  Citizen of Another State                     0        2      ~ 2        Incorporated and Principal Place                      0    5      0    5
             Defendant                                              (Indicate Citizenship ofParties in Item Ill)                                                                                                      of Business In Another State

                                                                                                                                           Citizen or Subject ofa                        0       3      0     3    Foreign Nation                                        0    6      0    6
                                                                                                                                             Forei nCoun
IV NATURE OF SUIT (Place an                                             'T' in One Box Only)                                                                                                             Click here for: Nature of Suit Code Descriotions.
I'        : ',',CONTRA1:T .~.,.,,~~-~.;,;I_        i,.,imJ,f.rf,   ~   ~Ail'· .' ~ >.; ·:i,• 'v•n1RTS-i~·-·,f-:;•,:~,-...                                                ENAL         I•         .~~..  '.;t·BANKRuvrcr;t:-tr,~1:-#',,-' -•lll'J{"",-" ... r-•:-•:.i1.:A·1. • • _,,...          I
0    110 Insurance                                      PERSONAL INJURY                                PERSONAL INJURY                      0 625 Drug Related Seizure                           0 422 Appeal 28 USC 158                      0 375 False Claims Act
0    120 Marine                                     0 310 Airpiane                                O 365 Personal Injury -                              of Property 21 USC 881                    0 423 Withdrawal                             0 376QuiTam(31 USC
0    130 Miller Act                                 0 315 Airplane Product                              Product Liability                   0 690 Other                                                     28 USC 157                                   3729(a))
0    140 Negotiable Instrument                               Liability                            O 367 Health Care/                                                                                                                      0 400 State Reapportionment
0    150 Recovery of Overpayment                    0   320 Assault, Libel &                            Pharmaceutical                                                                           ,,_.,               • _,.,_ •- -- ,,.. , 0 410 Antitrust
          & Enforcement of Judgment                          Slander                                    Personal Injury                                                                          0 820 Copyrights                             O   430 Banks and Banking
0    151 Medicare Act                               0   330 Fede;al Employers'                          Product Liability                                                                        0 830 Patent                                 O   450 Commerce
0    152 Recovery of Defaulted                               Liability                            O 368 Asbestos Personal                                                                        0 835 Patent - Abbreviated                   O   460 Deponation
          Student Loans                             0   340 Marine                                       Injury Product                                                                                     New Drug Application              -   470 Racketeer Influenced and
          (Excludes Veterans)                       0   345 Marine Product                               Liability                                                                               0 840 Trademark                                      Corrupt Organizations
0    153 Recovery of Overpayment                             Liability                               PERSONAL PROPERTY                                                                                                                        0   480 Consumer Credit
          of Veteran's Benefits                     0   350 Motor Vehicle                         O 370 Other Fraud                                                             O 710 Fair Labor Standards         0 861 HIA (139511)                          0
                                                                                                                                                                                                                                                  490 Cable/Sat TV
 0   160 Stockholders' Suits                        0   355 Motor Vehicle                         O 371 Truth in Lending                                                               Act                         0 862 Black Lung (923)                      0
                                                                                                                                                                                                                                                  850 Securities/Commodities/
 0   I 90 Other Contract                                    Prodt18t Liability                    O 380 Other Personal                                                          O 720 Labor/Management             0 863 DIWC/DIWW (405(g))            Exchange
 0   195 Contract Product Liability                             0
                                                        360 Other"Personal                              Property Damage                                                                Relations                   0 864 SSID Title XVI                        0
                                                                                                                                                                                                                                                  890 Other Statutory Actions
 0   196 Franchise                                          Injury                                O 385 Property Damage                                                         O 740 Railway Labor Act            0 865 RSI ( 405(g))                         0
                                                                                                                                                                                                                                                  891 Agricultural Acts
                                                                0
                                                        362 Personal Injury -                           Product Liability                                                       O 751 Family and Medical                                                       0
                                                                                                                                                                                                                                                  893 Environmental Matters
                                                            Medical Malnractice                                                                                                        Leave Act                                                               0
                                                                                                                                                                                                                                                  895 Freedom oflnformation
IL-__-.:,:R.::EA=L~P:.,:R~O=PER=TII.:.:.';..;'•;..;'-.;..;;;..:'+-;..·k;..·.::.CIVI=::L::,:'!-v=""'"'Hl':.:.:.S=···;..'•:...·,,..,.-l-~PRJ=SO=NE=R~P-llE'::l~l~ll~O,::N,::S~·-1 0 790 Other Labor Litigation     ~.~.~~,FED=~.ERA=-~L~T=""AX""sut=TS=--.-,-1,,
                                                                                                                                                                                                                                                       Act
 0 210 Land Condemnation                                        0 440 Othec!::ivil Rights                                             Habeas Corpus:                            0 791 Employee Retirement          0 870 Taxes (U.S. Plaintiff                 O 896 Arbitration
 0 220 Foreclosure                                              0 441 Votiqg                                                  O 463 Alien Detainee                                    Income Security Act                    or Defendant)                     0 899 Administrative Procedure
 0 230 Rent Lease & Ejecttnent                                  0 442 Empl~yment                                              O 510 Motions to Vacate                                                              0 871 IRS-Third Party                             Act/Review or Appeal of
 0 240 Torts to Land                                            0 443 Housing/                                                             Sentence                                                                          26 USC 7609                             Agency Decision
 0 245 Ton Product Liability                                                   Accommodations                                 O 530 General                                                                                                                    0 950 Constitutionality of
 0 290 All Other Real Property                                  0 445 Amer, w/Disabilities - 0 535 Death Penalty                                                                                   110N      ,.                                                      State Statutes
                                                                               Employment                                             Other:                                    0 462 Naturalization Application
                                                                0 446 Amer. w/Disabilities - 0 540 Mandamus & Other 0 465 Other Immigration
                                                                               Other                                          O 550 Civil Rights                                      Actions
                                                                0 448 Education                                               O 555 Prison Condition
                                                                                                                              0 560 Civil Detainee -
                                                                                                                                           Conditions of
                                                                                                                                           Confinement

 V. ORIGIN (Placean                       "X"inOneBoxOn/yJ
]:I( I Original                     O 2 Removed from ·                               0     3     Remanded from                     0 4 Reinstated or                  O 5 Transferred from                         0 6 Multidistrict                        0 8 Multidistrict
           Proceeding                   State Court                                              Appellate Court                       Reopened                           Another District                             Litigation -                             Litigation -
                                                                                                                                                                                (s eci       ~                         Transfer                                 Direct File
                                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION R_ICO 18 U.S.C.                                                                   1961 et se . the CSA 21 U.S.C.                                         801 et se . and the Su remac Clause
                                                           Bnef descnpt1on of cause:
                                                             it is a felon under the Controlled Substances Act of 1970 "CSA" to deal in marruana
 VII. REQUESTED IN     0                                               CH.ECK IF THIS IS A CLASS ACTION                                         DEMAND$                                                        CHECK YES only if demanded in complaint:
      COMPLAINT:                                                       ~DER RULE 23, F.R.Cv.P.                                                                                                                 JURY DEMAND:                           ]:I( Yes           □ No

 VIII. RELATED CASE(S)
                                                                   (See instructions):
       IF ANY                                                                                                                                                                                         DOCKET NUMBER
 DATE
 07/11/2022
 FOR OFFICE USE ONLY

     RECEIPT#                                  AMOUNT                                                       APPL YING IFP                                                   JUDGE                                            MAG.JUDGE
